            Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 1 of 8



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


KAREN MOMBER                                 )
  2851 Nordic Avenue                         )
  Kalamazoo, MI 49004                        )
                                             )
        Petitioner,                          )
                                             )      Civil Action No. 19-2322
v.                                           )
                                             )
ROBERT L. WILKIE                             )
Secretary of Veteran’s Affairs               )
   810 Vermont Ave. NW                       )
   Washington DC 20420                       )
                                             )
        Respondent                           )
                                             )


                      PETITION FOR WRIT OF MANDAMUS (FOIA)

        Petitioner, Karen Momber (“Ms. Momber” or “Petitioner”), through Counsel, asks this

Honorable Court to Grant this Petition for Extraordinary Relief to order the U.S. Department of

Veteran’s Affairs Medical Center (hereafter “VAMC”) to provide the required documents under

her Freedom of Information Act request (hereafter “FOIA”), filed on February 20, 2019, to the

Battle Creek VAMC regarding her AIB transcripts, CD and final report from the 01/11/19 AIB

concerning Petitioner.

                                 I. FACTUAL BACKGROUND

     1. At all times relevant, Petitioner Karen Momber served as a nurse at the Battle Creek VA

        Medical Center.

     2. On November 15, 2018, Petitioner was made aware that she was subject to an

        Administrative Investigation Board (AIB) by the Battle Creek VA Medical Center.
       Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 2 of 8



3. The AIB hearing took place on or about January 11, 2019.

4. On February 19, 2019, Petitioner learned via e-mail the allegations against Petitioner

   were concluded to be unfounded.

5. On February 20, 2019, the Petitioner filed a FOIA request for the final report of the AIB.

6. On April 21, 2019, Petitioner’s Counsel advised Agency personnel via email that

   Petitioner’s FOIA request had not been fulfilled.

7. On April 25, 2019 Petitioner, through Counsel filed a FOIA for the same transcript stated

   in ¶ 5, supra.

8. On May 2, 2019, as the Agency had not responded to Counsel’s April 21 email, Counsel

   sent another email requesting the Agency’s reply to Petitioner’s FOIA request.

9. On May 26, 2019, as Counsel had received no response from the Agency to his April 21

   and May 2 emails, Counsel sent a third email for an update on the Agency’s compliance

   Petitioner’s FOIA request.

10. On June 3, 2019, Counsel spoke with Agency personnel via phone. The Agency advised

   that there was an excess of FOIA requests and that personnel would be following up with

   an email in the next day to confirm Petitioner’s request was received and provide an

   estimated time of compliance.

11. On June 6, 2019, as Counsel had not received a response as stated would occur within the

   day of the June 3 phone conversation, Counsel sent a fourth email requesting the status of

   Petitioner’s request and advised if the Agency did not respond to the request by June 10,

   2019, Counsel would advise Petitioner to file a Writ of Mandamus.
       Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 3 of 8



12. On June 10, 2019, Agency personnel Stewart Hadley, advised that the Agency had the

   source documents of the FOIA and would have redacted copies of the documents by the

   end of the business day on June 10.

13. On June 20, 2019, as the Agency had not produced redacted copies of the documents as

   stated in the June 10, 2019 email, Counsel requested a status report.

14. On June 23, 2019, the documents the Agency stated would be provided to Petitioner and

   Counsel in the June 10 email had not yet been provided, Counsel sent an additional email

   requesting a status report.

15. As of this writing, the Agency has failed to timely respond to Petitioner’s FOIA request

   and Agency personnel has not sent a response to Counsel’s emails requesting a status

   report.

                             III. STANDARD OF REVIEW

                             A. Writ of Extraordinary Relief

16. A writ of mandamus will only be granted when essential to the interests of justice. See

   Starnes v. McGuire, 512 F.2d 918, 929 (D.C. Cir. 1974) (en banc); Haneke v. Secretary

   of HEW, 535 F.2d 1291, 1296 (D.C. Cir. 1976); In Re Tripati, 836 F.2d 1406, 1407 (D.C.

   Cir. 1988). Federal district courts have authority to issue writs of mandamus pursuant to

   28 U.S.C. § 1361, at the discretion of the Court. National Wildlife Federation v. United

   States, 626 F.2d 917, 923 (D.C. Cir. 1980). Mandamus generally will not issue unless

   there is a clear right in the Petitioner to the relief sought, a plainly defined and non-

   discretionary duty on the part of the defendant to honor that right, and no other adequate

   remedy, either judicial or administrative, available. Northern States Power Co. V. U.S.

   Dep’t of Energy, 128 F.3d 754, 758 (D.C. Cir. 1997).
       Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 4 of 8



17. The requirement of a clear duty to act has been interpreted to mean that the duty of the

   federal officer sued must be “a clear non-discretionary duty.” Pittston Coal Group v.

   Sebben, 109 S. Ct. 414, 424 (1988); Welch v. Donovan, 551 F. Supp.809 (D.D.C. 1982).

   “It is well settled that a writ of mandamus is not available to compel discretionary acts.”

   Cox v. Secretary of Labor, 739 F. Supp. 28, 30 (D.D.C. 1990) (citations omitted).

18. Under the Freedom of Information Act, 5 U.S.C.S. §552, an agency must respond to a

   FOIA request within 20 days and inform the Petitioner of whether or not their request

   will be complied with. The Agency’s failure to timely provide an interim response to a

   Petitioner’s FOIA request is grounds for granting a writ of mandamus. Casad v. HHS,

   2003 U.S. Dist. LEXIS 13007, 18 (D.D.C. 2003).

                               C. Jurisdiction and Venue

19. This District Court has jurisdiction to hear this matter pursuant to 28 U.S.C. § 1361,

   which states that “the district courts shall have original jurisdiction of any action in the

   nature of mandamus to compel an officer or employee of the United States or any agency

   thereof to perform a duty owed to the Petitioner.” 28 U.S.C. § 1361.

20. Venue is properly laid in the District Court for the District of Columbia pursuant to 28

   U.S.C. § 1391(e)(1) as the Defendant is an Agency of the United States residing in the

   District of Columbia.

                                    IV. ARGUMENT

   A. The VAMC Owes a Clear, Non-discretionary Duty to Petitioner

21. The FOIA is an essential right given to the public against the Agencies of the United

   States. The Freedom of Information Act was conceived to permit citizen’s access to

   government records. Vaughn v. Rosen, 157 U.S. App. D.C. 340, 484 F.2d 820 (1973). In
         Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 5 of 8



     its position as a government entity, the VA Medical Center owes a duty to Ms. Momber

     to comply with federal regulations and provide her with the documents as requested. Not

     only was Petitioner denied access to the documents she had a statutory right to, but

     Petitioner was additionally denied interim responses that provided an anticipated

     response as required by 5 U.S.C.S. §552(a)(6)(B)(i).

B. Petition for Writ of Extraordinary Relief Should Be Granted as All Elements Are Met

  22. Ms. Momber meets all of the required elements necessary for this Court to grant her

     petition for a Writ of Mandamus. Each element is independently discussed below.

          Petitioner Lacks Adequate Alternative Means to Obtain the Desired Relief

  23. There are no other means for Ms. Momber to obtain her desired relief of being supplied

     the documents requested in her FOIA request from the VAMC. In order for Ms. Momber

     to pursue her statutory right of receiving disability compensation for service-connected

     disabilities obtained as a result of his service in the Armed Forces, this petition must be

     granted. See Jurisdiction Discussion above; Section IV, A.

                  1. There Is A Clear and Indisputable Right to The Writ

  24. Under the Freedom of Information Act, 5 U.S.C. § 552:

     “Each agency, upon any request for records made under paragraph (1), (2), or (3) of this

     subsection, shall—

     (i) determine within 20 days (excepting Saturdays, Sundays, and legal public holidays)

     after the receipt of any such request whether to comply with such request and shall

     immediately notify the person making such request of—

             (I) such determination and the reasons therefor;
       Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 6 of 8



           (II) the right of such person to seek assistance from the FOIA Public Liaison of

           the agency; and

           (III) in the case of an adverse determination—

                  (aa) the right of such person to appeal to the head of the agency, within a

                  period determined by the head of the agency that is not less than 90 days

                  after the date of such adverse determination; and

                  (bb) the right of such person to seek dispute resolution services from the

                  FOIA Public Liaison of the agency or the Office of Government

                  Information Services; and

   (ii) make a determination with respect to any appeal within twenty days (excepting

   Saturdays, Sundays, and legal public holidays) after the receipt of such appeal. If on

   appeal the denial of the request for records is in whole or in part upheld, the agency shall

   notify the person making such request of the provisions for judicial review of that

   determination under paragraph (4) of this subsection.”

25. The Petitioner made her initial FOIA request on 20 February 2019, with an additional

   request made through Counsel on April 25, 2019. These requests have not been complied

   with. This is clearly past the 20 days as statutorily required, and there has been no

   “unusual circumstances” which would except it from doing so. If there were any unusual

   circumstances that would have made the production of documents infeasible this was not

   communicated via written notice to Petitioner as required by 5 U.S.C.S.

   §552(a)(4)(A)(vii)(II)(aa).

26. The record is currently void of any extraordinary circumstances would have made the

   production of documents infeasible.
       Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 7 of 8



27. On June 10, 2019, the Agency advised that the production would be forthcoming that

   day. See ¶ 12, supra.

28. The only email sent to counsel by the Agency was silent on any extraordinary

   circumstances. Therefore, Petitioner’s clear rights have been infringed upon by the

   Agency’s lack of response.

                       2. The Issuance of The Writ Is Warranted

29. Although "[t]he remedy of mandamus is a drastic one, to be invoked only in

   extraordinary situations," this case demands that corrective action be taken in order to

   ensure that the FOIA is a process that the American public is able to trust and rely on.

   Kerr v. U.S., Dist. Court, 426 U.S. 394, 402 (1976).

30. The Freedom of Information Act provides a statutory right to Petitioner to a timely

   response through 5 U.S.C.S. §552(a)(6)(B)(i) there has been no interim communication

   by the Agency concerning when Petitioner’s request will be fulfilled. The Agency was

   given multiple chances to provide interim responses by returning counsel’s emails

   requesting status reports on Petitioner’s FOIA request. Therefore, the issuance of this writ

   is warranted.

                                   V. CONCLUSION

31. For the foregoing reasons, Ms. Momber hereby humbly requests that this Court grant this

   Writ, ensure that her FOIA request is complied with, and award attorney fees, costs, and

   any additional remedy this Honorable Court deems just.

                             VI. PRAYER FOR RELIEF.

32. Petitioner through Counsel requests the following:

       a. The requested documents be produced immediately;
Case 1:19-cv-02322-RC Document 1 Filed 08/02/19 Page 8 of 8



b. All attorney fees and costs paid to Petitioner.

c. Any other remedy this Honorable Court deems appropriate.




                                  Respectfully Submitted,
                                  /s/ Michael D.J. Eisenberg
                                  Michael D.J. Eisenberg
                                  D.C. Bar No. 486251
                                  Law Offices of Michael D.J. Eisenberg
                                  700 12th Street, NW
                                  Suite 700
                                  Washington, DC 20005
                                  Tel: (202) 558-6371
                                  Fax: (202) 403-3430
                                  E-mail: Michael@Eisenberg-Lawoffice.com
